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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

DORIS DEBERRY                                §
     Plaintiff,                              §
                                             §
vs.                                          §         CIVIL ACTION NO._________
                                             §         JURY REQUESTED
STATE FARM LLOYDS                            §
     Defendant.                              §

                         DEFENDANT’S NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:

       Defendant STATE FARM LLOYDS (hereinafter, “State Farm”) files this Notice of

Removal of the present action from the 334th Judicial District Court of Harris County, Texas to

the United States District Court for the Southern District of Texas, Houston Division.         In

connection with this Notice of Removal, State Farm would respectfully show unto the Court as

follows:

                                  PROCEDURAL BACKGROUND

       1.      Plaintiff Doris Deberry filed this action on July 8, 2015 against State Farm in the

334th Judicial District Court of Harris County, Texas. That case was docketed under cause

number 2015-39079 (the “State Court Action”).

       2.      Plaintiff served State Farm with process on July 29, 2015. State Farm filed its

Answer on August 19, 2015.

       3.      State Farm files this Notice of Removal pursuant to 28 U.S.C. §1446 to remove

the State Court Action from the 334th Judicial District Court of Harris County, Texas to the

United States District Court for the Southern District of Texas, Houston Division.




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       4.      Plaintiff’s Original Petition filed in the State Court Action included a jury

demand.

                                   NATURE OF THE SUIT

       5.      This lawsuit involves a dispute over the alleged non-payment of insurance

benefits and the handling of Plaintiff’s claim for damages allegedly caused by a hail and/or wind

storm occurring on or about August 11, 2014. See Petition at ¶ 5.

       6.      Plaintiff reported her claim on or about January 21, 2015. State Farm timely

inspected and re-inspected the insured real property and thereafter concluded the observed and

covered damage did not exceed Plaintiff’s deductible. Accordingly, State Farm did not issue a

payment.

       7.      Plaintiff asserts causes of action against State Farm for, among others, breach of

contract, violations of Chapters 541 and 542 of the Texas Insurance Code, violations of the

DTPA, negligence, breach of fiduciary duty, and breach of the duty of good faith and fair

dealing.

                                   BASIS FOR REMOVAL

       8.      The Court has jurisdiction over this action under 28 U.S.C. § 1332 because there

was and is complete diversity between all real parties in interest and the amount in controversy

exceeds $75,000, exclusive of interests and costs.

       9.      The citizenship of an unincorporated association is determined by the citizenship

of each member of the entity, not by the state where the entity is organized. See Harvey v. Grey

Wolf Drilling Co., 542 F.3d 1077, 1080 (5th Cir.2008); see also, e.g., See Royal Ins. Co. v.

Quinn-L Capital Corp., 3 F.3d 877, 882-83 (5th Cir. 1993) (citizenship of unincorporated

association determined by citizenship of members); Griggs v. State Farm Lloyds, 181 F.3d 694,


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698 (5th Cir. 1999) (finding that State Farm Lloyds is a citizen of Illinois); Alonzo v. State Farm

Lloyds, No. SA-06-SA-0326-XR, 2006 WL 1677767, at *1 (W.D. Tex. June 12, 2006) (State

Farm Lloyds held to be diverse from Texas plaintiffs); Caballero v. State Farm Lloyds, No. CA-

C-03-266, 2003 WL 23109217, at *1 (S.D. Tex. Oct. 31, 2003) (same); Rappaport v. State Farm

Lloyds, No. 3:97-CV-2747, 1998 WL 249211, at *2 (N.D. Tex. May 8, 1998) (same).

         10.   State Farm is an association of individual underwriters authorized to conduct

business in Texas as a Lloyd’s plan insurer as defined and set out in Chapter 941 of the Texas

Insurance Code. At the time this action commenced, State Farm was, and still is, an

unincorporated insurance association whose underwriters were, and still are, citizens of states

other than Texas. Accordingly, State Farm is not a citizen of the State of Texas. See Verification

below.

         11.   Plaintiff’s Petition expressly alleges damages in excess of $100,000 satisfying the

“amount in controversy” requirement of 28 U.S.C. § 1332(a). See Petition at ¶ 69.

         12.   Plaintiff filed this action in Harris County, Texas. The Houston Division of the

Southern District of Texas encompasses Harris County, Texas. See 28 U.S.C. § 124(b)(2). Thus,

venue is proper because this district and division embrace the place where the state court action

is pending. See 28 U.S.C. § 1441(a).

         13.   All information and documents required by 28 U.S.C. § 1446(a) and by Local

Rule 81 to be filed with this Notice of Removal are attached and indexed in Exhibit A.

         14.   A copy of this Notice of Removal will be filed with the Harris County District

Clerk’s office and served on the Plaintiff promptly. See 28 U.S.C. § 1446(d).




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                                             PRAYER

       State Farm respectfully requests that the above-styled action now pending in the 334th

Judicial District Court of Harris County, Texas be removed to this Honorable Court pursuant to

the Court’s diversity jurisdiction. State Farm further prays that upon final trial, judgment be

rendered such that Plaintiff takes nothing by her suit against State Farm. State Farm additionally

asks for such other and further relief to which it may be justly entitled.

                                               Respectfully submitted,

                                               GERMER PLLC



                                               By: _________________________________
                                                      Dale M. “Rett” Holidy
                                                      State Bar No. 00792937
                                                      Federal I.D. No. 21382
                                                      Three Allen Center
                                                      333 Clay Street
                                                      Houston, Texas 77002
                                                      Telephone: (713) 650-1313
                                                      Facsimile: (713) 739-7420
                                                      Email: rholidy@germer.com

                                               ATTORNEY-IN-CHARGE FOR DEFENDANT

OF COUNSEL:

GERMER PLLC
Gregory M. Howard
State Bar No. 24042989
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                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument has been duly
sent via CM/ECF on August 24, 2015 to all counsel of record, as follows:

              Bill L. Voss                         VIA FAX AND CM/RRR
              bill.voss@vosslawfirm.com
              Scott G. Hunziker
              scott@vosslawfirm.com
              Clayton Hardin
              clayton@vosslawfirm.com
              THE VOSS LAW FIRM, P.C.
              26619 Interstate 45 South
              The Woodlands, Texas 77380


                                                   ___________________________________
                                                   Dale M. “Rett” Holidy




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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

DORIS DEBERRY                                       §
     Plaintiff,                                     §
                                                    §
vs.                                                 §         CIVIL ACTION NO.- - - -
                                                    §         JURY REQUESTED
STATE FARM LLOYDS                                   §
     Defendant.                                     §

                                                 VERIFICATION

THE STATE OF ILLINOIS                        §
                                             §
COUNTY OF McLEAN                             §

       BEFORE ME, the undersigned authority, on this day personally appeared Jim Larson,
who, being first duly sworn by me, did depose and state as follows:

       "My name is Jim Larson. I am over the age of eighteen (18) years and fully competent to
make this verification.

       I am an Assistant Secretary - Treasurer of State Farm Lloyds, Inc. ("Lloyds, Inc."), an
attorney-in-fact for State Farm Lloyds. I am also an Assistant Vice President - Accounting of
State Farm Mutual Automobile Insurance Company ("State Farm Mutual"). As part of my job
duties for State Farm Mutual, I oversee a department that prepares and files the Annual
Statements and similar filings for State Farm Mutual and each of its property and casualty
insurance subsidiaries and affiliates, including State Farm Lloyds. As an officer of these State
Farm companies, I have knowledge of their respective directors, principal officers or
underwriters, the type of entity each is, and other similar information.

        I have read paragraph 10 of Defendant State Farm Lloyds's Notice of Removal and
declare that all the facts contained therein are true and co~ ~


                                                              Jim L     on

                                                                      1"1...-
SWORN AND SUBSCRIBED TO before me on August L!__, 2015.

                                                              ~a~'Jl.ofiYU}t;_
                     OFFICIAL SEAL                            Notary Public in and for the
                       Karen Hamilton
               NOTARY PUBLIC. STATE Of ILLINOIS               State of Illinois
                My CommiSSion ExpireS: 01/07/2018



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                                             EXHIBIT A

                                 LIST OF ATTORNEYS/PARTIES

1.     Bill L. Voss
       Scott G. Hunziker
       Clayton Hardin
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       26619 Interstate 45 South
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Attorneys for Plaintiff

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       Three Allen Center
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       Houston, Texas 77002
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Attorneys for Defendant

                                 INDEX OF DOCUMENTS FILED
                                   WITH REMOVAL ACTION

                          DORIS DEBERRY V. STATE FARM LLOYDS


               (a)        Plaintiff’s Original Petition and Jury Demand;
               (b)        Citation on Defendant;
               (c)        Defendant’s Answer & Special Exceptions to Plaintiff’s Original Petition;
                          and
               (d)        Docket/Case Summary Sheet.
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                                                                                Chris Daniel - District Clerk Harris County
                                                                                                   Envelope No. 6560660
                                                                                                          By: DAVIA FORD
                                                                                           Filed: 8/19/2015 12:08:57 PM

                                    CAUSE NO. 2015-39079

DORIS DEBERRY                                §               IN THE DISTRICT COURT OF
                                             §
VS.                                          §               HARRIS COUNTY, TEXAS
                                             §
STATE FARM LLOYDS                            §               334TH JUDICIAL DISTRICT

            DEFENDANT’S ORIGINAL ANSWER AND SPECIAL EXCEPTIONS

TO THE HONORABLE JUDGE OF SAID COURT:

       Defendant STATE FARM LLOYDS (hereinafter, “State Farm”) files its Original Answer

and Special Exceptions to the allegations contained in Plaintiff’s Original Petition, and all

subsequent amended or supplemented petitions filed against them, and show as follows:

                                            I.
                                      GENERAL DENIAL

       1.      State Farm generally denies all of the material allegations contained in Plaintiff’s

Original Petition and any amendments and supplements thereto and demands strict proof thereof

as allowed under the laws of the State of Texas. By this general denial, State Farm would

require Plaintiff to prove every fact to support the claims in Plaintiff’s Original Petition and any

amendments and supplements thereto by a preponderance of the evidence.

                                              II.
                                           DEFENSES

       2.      Policy Coverage Provisions.       Under the policy made the basis of this suit,

Plaintiff has the burden to prove damage(s) resulting from an occurrence of accidental direct

physical loss to the insured property during the policy period. To the extent applicable, Plaintiff

lacks proof that any additional damages resulted from any accidental direct physical loss during

the policy period. State Farm would further show that, to the extent applicable, it has fully

complied with all provisions, terms, and conditions set forth in the policy
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        3.         Payment. State Farm is entitled to an offset or credit against Plaintiff’s damages,

if any, in the amount of all payments State Farm has made to or on behalf of Plaintiff under the

policy in connection with the damages and the insurance claim, that give rise to Plaintiff’s claims

in this lawsuit.

        4.         Deductible/Offset. State Farm is entitled to an offset or credit against Plaintiff’s

damages, if any, in the amount of Plaintiff’s deductible.

        5.         Limit of Liability. State Farm’s liability, if any, is limited to the amount of the

policy limits under the subject policy, pursuant to the “Limit of Liability” and other clauses

contained in the policy sued upon.

        6.         Failure of Policy Conditions/Conditions Precedent. State Farm hereby asserts

all conditions of the policy at issue, including, but not limited to, all terms, deductibles,

limitations on coverage, exclusions set out in the policy, and all “duties after loss.” To the extent

applicable and by way of example only, State Farm would show that Plaintiff has failed to satisfy

the conditions of the policy requiring Plaintiff to protect the property from further damage,

which reads as follows:

                                     SECTION I – CONDITIONS

                                              * * * * *

        2.         Your Duties After Loss. After a loss to which this insurance may apply,
                   you shall see that the following duties are performed:

                   a.     give immediate notice to us or our agent…

                   b.     protect the property from further damage or loss, make reasonable
                          and necessary temporary repairs required to protect the property,
                          keep an accurate record of repair expenditures;

                                                  * * * * *

                   d.     as often as we reasonably require:



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                       (1)     exhibit the damaged property;
                       (2)     provide us with records and documents we request and
                               permit us to make copies;

       Plaintiff failed to comply with these conditions precedent because he failed to report the

claim made the basis of this lawsuit until on or about January 21, 2015, nearly five months after

the August 11, 2014 date of loss. This delay in reporting Plaintiff’s claim is unreasonable and

prejudiced State Farm’s investigations of her claim. Based on the limited information available

at the time Plaintiff submitted her claim, on information and belief, Plaintiff failed to protect the

property from further damage during the considerable delay between when Plaintiff alleges the

damage occurred and when Plaintiff submitted her claim nearly five months later. In addition,

Plaintiff failed to properly maintain and repair her weathered and worn roofing system when it

required repair. Further, it appears additional damages may have occurred or arisen after State

Farm’s initial inspection, without any indication such damage occurred as a result of the wind or

hail event reported in connection with this date of loss. Plaintiff cannot recover, in whole or in

part, on Plaintiff’s breach of contract cause of action and, consequently, on all of the other causes

of action alleged in Plaintiff’s Original Petition, because of Plaintiff’s failure to satisfy the

conditions precedent contained in the policy at issue.

       7.      Pre-Existing Damages. Plaintiff’s claims are barred, in whole or in part, because

the damages and losses alleged in Plaintiff’s Original Petition, none being admitted, pre-existed

the alleged occurrence of hail, wind, or wind-driven rain.

       8.      Normal Wear and Tear/Rot. State Farm would further show that the policy

made the basis of this suit contains terms and conditions expressly excluding the coverage sought

by Plaintiff. By way of example only, Plaintiff’s claims are barred, in whole or in part, because

the damages and losses alleged in Plaintiff’s Original Petition, none being admitted, were



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proximately caused in whole or in part by normal wear and tear and/or rot. The policy at issue

specifically provides:

                              SECTION I – LOSSES NOT INSURED

       1.      We do not insure for any loss to the property described in Coverage A
               which consists of, or is directly and immediately caused by, one or more
               of the perils listed in items a. through n. below, regardless of whether the
               loss occurs suddenly or gradually, involves isolated or widespread
               damage, arises from natural or external forces, or occurs as a result of any
               combination of these:

                                                 * * * * *

               g.        wear, tear, marring, scratching, deterioration, inherent vice, latent
                         defect or mechanical breakdown;

               h.        corrosion, electrolysis or rust;

               i.        mold, fungus or wet or dry rot;

                                                 * * * * *

               l.        settling, cracking, shrinking, bulging, or expansion of pavements,
                         patios, foundation, walls, floors, roofs or ceilings;

                                                 * * * * *

       Plaintiff has claimed roof, structural, and/or exterior damage that resulted, in whole or in

part, from and appears to have occurred over time as a result of age and deterioration, including,

but not limited to, wear, tear, wet or dry rot, cracking, and/or shrinking over time, which

conditions are specifically excluded under the policy at issue.

       9.      Neglect/Maintenance. Plaintiff’s claims are barred, in whole or in part, because

the damages and losses alleged in Plaintiff’s Original Petition, none being admitted, were

proximately caused, in whole or in part, by neglect. The policy at issue specifically provides:




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                    SECTION I – LOSSES NOT INSURED

 2.    We do not insure under any coverage for any loss which would not have
       occurred in the absence of one or more of the following excluded events.
       We do not insure for such loss regardless of: (a) the cause of the excluded
       event; or (b) other cause of the loss; or (c) whether other causes acted
       concurrently or in any sequence with the excluded event to produce the
       loss; or (d) whether the event occurs suddenly or gradually, involves
       isolated or widespread damage, arises from natural forces, or occurs

                                      * * * * *

       d.     Neglect, meaning neglect of the insured to use all reasonable
              means to save and preserve the property at and after the time of a
              loss, or when property is endangered.

 3.    We do not insure under any coverage for any loss consisting of one or
       more of the items below. Further, we do not insure for loss described in
       paragraphs 1. and 2. immediately above regardless of whether one or
       more of the following: (a) directly or indirectly cause, contribute to or
       aggravate the loss; or (b) occur before, at the same time, or after the loss
       or any other cause of the loss:

                                      * * * * *

       b.     defect, weakness, inadequacy, fault or unsoundness in:

                                      * * * * *

              (1)     planning, zoning, development, surveying, siting;

              (2)     design, specification, workmanship, construction, grading,
                      compaction;

              (3)     materials used in construction or repair; or

              (4)     maintenance;

              of any property (including land, structures, or improvements of
              any kind) whether on or off the residence premises;

       c.     weather conditions.

       However, we do insure for any resulting loss from items a., b., and c.
       unless the resulting loss is itself a Loss Not Insured by the Section.




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       In the Petition, Plaintiff appears to claim roof, structural, and/or exterior damage that

resulted, in whole or in part, from neglect and/or is a product of maintenance, which conditions

are specifically excluded under the policy at issue.

       10.     Bona Fide/Legitimate Dispute. A bona fide/legitimate dispute exists precluding

Plaintiff’s recovery of damages under extra-contractual theories including the common law duty

of good faith and fair dealing, and for violations of the Texas Insurance Code or any other

statutory or common law authority.

       11.     Cap on Punitive Damages. Texas Civil Practice and Remedies Code §41.001,

et. seq., applies and punitive damages awarded, if any, are subject to the statutory limit set forth

therein, other applicable statutory authority, and common law. Further, unless Plaintiff proves

State Farm’s liability for punitive damages, and the amount of punitive damages, if any, by clear

and convincing evidence, any award of punitive damages would violate State Farm’s due process

rights guaranteed by the Fourteenth Amendment to the United States Constitution and by Section

19 of Article 1 of the Texas Constitution.

       12.     Chapter 38 Attorney’s Fees. Plaintiff cannot recover attorney’s fees from State

Farm under Chapter 38 of the Texas Civil Practice and Remedies Code. “A person may recover

reasonable attorney’s fees from an individual or corporation, in addition to the amount of a valid

claim and costs, if the claim is for . . . (8) an oral or written contract.” TEX. CIV. PRAC. & REM.

CODE § 38.001(8). Chapter 38 does not apply to State Farm because it is an unincorporated

association of underwriters. See Fleming & Assocs., L.L.P. v. Barton, 425 S.W.3d 560, 575 (Tex.

App.—Houston [14th Dist.] 2014, pet. filed).

       13.     Failure to State a Recoverable Claim. Plaintiff’s negligence claim is barred by

the economic loss rule.



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                                            III.
                                    SPECIAL EXCEPTIONS

       14.     Failure to Set Forth Specific Claims/Facts – Breach of Contract. State Farm

specially excepts to Plaintiff’s Original Petition because the vague and indefinite breach of

contract claim fails to provide fair notice of: (1) the facts of the loss or losses allegedly sustained

by Plaintiff; (2) the facts showing Plaintiff’s alleged loss or losses were covered under the terms

of the policy at issue; and (3) the acts and/or omissions by State Farm which allegedly amount to

a breach of State Farm’s contractual obligations, if any, to Plaintiff. See Subia v. Texas Dep’t of

Human Serv., 750 S.W.2d 827, 829 (Tex. App. — El Paso 1988, no writ) (trial court can order

the plaintiffs to specifically plead a cause of action which was originally pleaded in general

terms). Accordingly, Plaintiff should be required to amend her claim for breach of contract and

state with particularity: (1) facts supporting the alleged loss; (2) facts demonstrating the portion

of the loss covered by the contract of insurance in question; (3) facts of the acts and/or omissions

by State Farm which allegedly amounted to a breach of contractual obligation to Plaintiff; and

(4) the maximum amount of damages sought by Plaintiff for State Farm’s alleged breach of

contract.

       15.     Failure to Identify the Date the Breach of Contract Occurred. State Farm

specially excepts to Plaintiff’s Original Petition in its entirety because it is impermissibly vague

in that it fails to set forth the date the alleged breach of contract occurred. Therefore, Plaintiff

should be required to file an amended pleading setting forth the date the alleged breach of

contract occurred.

       16.     Failure to Set Forth Specific Claims/Facts – Breach of Duty of Good Faith

and Fair Dealing.       State Farm specially excepts to Plaintiff’s Original Petition because

Plaintiff’s vague and indefinite claims for breach of the duty of good faith and fair dealing set



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forth therein fail to give State Farm fair notice of the bad faith claims, if any, against it. Plaintiff

has failed to give fair and adequate notice of facts and evidence upon which she bases such

claims. Plaintiff should be required to file an amended pleading setting forth facts to support her

claims for bad faith.

        17.        Failure to Set Forth Specific Claims/Facts — Chapter 541 of the Texas

Insurance Code. State Farm specially excepts to Plaintiff’s Original Petition because Plaintiff’s

vague and indefinite claims regarding State Farm’s alleged violations of Chapters 541 and 542 of

the Texas Insurance Code are deficient. Specifically, Plaintiff has failed to provide proper and

timely notice of her intent to seek damages under the Texas Insurance Code. Moreover, Plaintiff

failed to give State Farm fair notice of the facts and circumstances supporting the alleged

Insurance Code violations. See Subia, 750 S.W.2d at 829 (allegations solely tracking statutory

grounds did not give defendant fair notice of facts and circumstances). Plaintiff should be

required to file an amended pleading which sets forth facts to support her claims for State Farm’s

alleged violations of Chapters 541 and 542 of the Texas Insurance Code, as well as damages

related thereto.

        18.        Failure to Set Forth Specific Claims/Facts — Texas Deceptive Trade

Practices Act. State Farm specially excepts to Plaintiff’s Original Petition because Plaintiff’s

vague and indefinite claims regarding State Farm’s alleged violations of the DTPA are

inadequate. Specifically, Plaintiff has failed to provide proper and timely notice of her intent to

seek damages under the DTPA. Moreover, Plaintiff failed to give State Farm fair notice of the

facts and circumstances supporting the alleged DTPA violations. See Subia, 750 S.W.2d at 829

(allegations solely tracking statutory grounds did not give defendant fair notice of facts and

circumstances). Plaintiff should be required to file an amended pleading which sets forth facts to




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support her claims for State Farm alleged violations of the DTPA, as well as damages related

thereto.

       19.     Failure to Set Forth Specific Claims/Facts – Breach of Fiduciary Duty. State

Farm specially excepts to Plaintiff’s Original Petition because Plaintiff’s vague and indefinite

claims for breach of fiduciary duty set forth therein fail to give State Farm fair notice of such

claim. Plaintiff has failed to give fair and adequate notice of facts and evidence upon which she

bases such claims. Plaintiff should be required to file an amended pleading setting forth facts to

support her claims for bad faith.

       20.     Failure to Set Forth Specific Claims/Facts – Fraud/Misrepresentation. State

Farm specially excepts to Plaintiff’s Original Petition because Plaintiff’s vague and indefinite

claims for fraud and misrepresentation set forth therein fail to give State Farm fair notice of such

claims. Plaintiff has failed to give fair and adequate notice of facts and evidence upon which she

bases such claims. Plaintiff should be required to file an amended pleading setting forth facts to

support her claims for bad faith.

       21.     Failure to Set Forth Specific Claims/Facts — Plaintiff’s Claims for Knowing

and/or Intentional Conduct. State Farm specially excepts to Plaintiff’s Original Petition

because Plaintiff failed to provide facts to support her allegation State Farm acted wrongfully

with knowledge and intent to cause harm. Pleading sufficient facts is necessary to inform State

Farm of what it is called upon to answer and to enable State Farm to prepare its defense. As a

result, Plaintiff should be required to file an amended pleading which sets forth facts in support

of Plaintiff’s claim for knowing and/or intentional conduct, as well as alleged damage related

thereto.




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       21.     Failure to Set Forth Specific Claims/Facts – Plaintiff’s Claim for Attorney’s

Fees for Breach of Contract. State Farm specially excepts to Plaintiff’s Original Petition

because Plaintiff has failed to provide a statutory basis for seeking attorney’s fees against State

Farm. Further, Plaintiff has failed to provide sufficient notice of facts, sufficient demand, or the

amount of attorney’s fees incurred for the purpose of satisfying the requirements of Tex. Civ.

Prac. & Rem. Code Chapter 38.

       WHEREFORE, PREMISES CONSIDERED, State Farm respectfully requests the

Court sustain State Farm’s special exceptions to Plaintiff’s Original Petition State Farm further

requests that, upon final trial and hearing hereof, Plaintiff takes nothing and that State Farm

recovers its costs, fees, and expenses. State Farm additionally prays for such other further relief

to which State Farm may show itself to be justly entitled, both in law and at equity.


                                              Respectfully submitted,
                                              GERMER PLLC


                                              By:____________________________
                                                 DALE M. “RETT” HOLIDY
                                                 State Bar No. 00792937
                                                 Three Allen Center
                                                 333 Clay Street, Suite 4950
                                                 Houston, Texas 77002
                                                 (713) 650-1313 - Telephone
                                                 (713) 739-7420 – Facsimile
                                                 rholidy@germer.com – Email

                                              ATTORNEY FOR DEFENDANT




                                                10
     Case 4:15-cv-02438 Document 1 Filed in TXSD on 08/24/15 Page 40 of 43



                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument has been served
on all counsel of record on August 19, 2015.

              Bill L. Voss                                         VIA E-SERVICE
              bill.voss@vosslawfirm.com
              Scott G. Hunziker
              scott@vosslawfirm.com
              Clayton Hardin
              clayton@vosslawfirm.com
              THE VOSS LAW FIRM, P.C.
              26619 Interstate 45 South
              The Woodlands, Texas 77380



                                                ____________________________
                                                DALE M. “RETT” HOLIDY




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Envelope Details                                                           Page 1 of 2
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 Case # 201539079 - DEBERRY, DORIS v STATE FARM
 LLOYDS
 Case Information
 Location                      Harris County - 334th Civil District Court
 Date Filed                    08/19/2015 12:08:57 PM
 Case Number                   201539079
 Case Description              DEBERRY, DORIS v STATE FARM LLOYDS
 Assigned to Judge
 Attorney                      Rett Holidy
 Firm Name                     Germer PLLC
 Filed By                      Erika Lopez
 Filer Type                    Attorney
 Fees
 Convenience Fee               $0.06
 Total Court Case Fees         $0.00
 Total Court Filing Fees       $0.00
 Total Court Service Fees      $2.00
 Total Filing & Service Fees   $0.00
 Total Service Tax Fees        $0.00
 Total Provider Service Fees   $0.00
 Total Provider Tax Fees       $0.00
 Grand Total                   $2.06
 Payment
 Account Name                  File & ServeXpress Monthly Bill
 Transaction Amount            $2.06
 Transaction Response          Approved
 Transaction ID                10757219
 Order #                       006560660-0

 Answer/ Response / Waiver
 Filing Type                                     EFileAndServe
 Filing Code                                     Answer/ Response / Waiver
                                                 Defendant's Original Answer and Special
 Filing Description
                                                 Exceptions
 Reference Number                                88677
 Comments
 Status                                          Accepted




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 Accepted Date                                   08/19/2015 01:34:56 PM
 Fees
 Court Fee                                       $0.00
 Service Fee                                     $0.00
 Documents
 Lead Document                 DEBERRY -SF Answer.pdf             [Original]     [Transmitted]


 eService Details
                                                                                 Date/Time
 Name/Email                 Firm             Service Type      Status   Served
                                                                                 Opened
 Bill L. Voss
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 bill.voss@vosslawfirm.com
 Scott Hunziker            Schell Cooley
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 scott@vosslawfirm.com     LLP-Addison
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 Clayton Hardin                                                                  08/19/2015
                           Bradley Mitchell EServe             Sent     Yes
 clayton@vosslawfirm.com                                                         12:11:48 PM
                           & Melendi, LLP




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        Case 4:15-cv-02438 Document 1 Filed in TXSD on 08/24/15 Page 43 of 43



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                                  Cause: 201539 079        CD I: 7   Court: 334

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 66682489         D EFEND ANT S O R IGINALANSW ER AND SPECIALEXCEPT IO NS                08/19 /2015   11
 66646472         CIT AT IO N                                                            08/17/2015    3
 66126577         PLAINT IFF' S O R IGINALPET IT O N                                     07/08/2015    19
  ·>   66126578   CaseInformationSheet                                                   07/08/2015    1
  ·>   66126579   ClerkLetter                                                            07/08/2015    1




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